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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

   Civil Action No. 17-cv-01152-RBJ-MEH

   BENJAMIN S. CARSON, Secretary of Housing and Urban Development,

          Plaintiff,

   v.

   ESTATE OF VERNA MAE GOLZ and
   WILLIAM J. GOLZ,

          Defendants.


             RECOMMENDATION OF UNITED STATES MAGISTRATE JUDGE


   Michael E. Hegarty, United States Magistrate Judge.

          Verna Mae Golz took out a reverse mortgage that was secured by her property in Nederland,

   Colorado. Ms. Golz’s loan became due and payable upon her death, but it was not paid off by her

   estate, family members, or other heirs. Accordingly, the sole lienholder, Plaintiff Benjamin S.

   Carson, Secretary of Housing and Urban Development (“HUD”), initiated this foreclosure action,

   alleging an unpaid loan balance of $288,260.83. Although Plaintiff sued a number of Defendants,

   only two remain after entry of default judgments: (1) Ms. Golz’s son, Dr. William J. Golz, who

   represents that he is the personal representative of the Estate and Ms. Golz’s sole heir; and (2) the

   Estate (collectively, “Defendants”).

          In their Amended Answer, Defendants allege that the failure to pay off the loan stemmed

   from HUD’s own failure to schedule a timely appraisal, which was necessary because the appraisal

   performed at the time of the loan’s origination did not account for material construction defects that

   were obscured by snow; had that appraisal been performed as required, Defendants would have

   satisfied the debt by paying an appropriate percentage of the revised valuation. Defendants also
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   assert the following affirmative defenses: (1) the foreclosure is avoidable and contrary to

   Regulations of the National Housing Act (“NHA”) and the Federal Housing Administration

   (“FHA”); (2) Plaintiff fails to state a claim; (3) estoppel; (4) laches; (5) waiver; (6) Plaintiff’s final

   agency action is arbitrary, capricious, and contrary to law; and (7) unclean hands. Am. Answer

   ¶¶ 132–41, ECF No. 64. The stated goal of these affirmative defenses is to preclude HUD from

   capitalizing on its own neglect and misdeeds through a grant of foreclosure.

           Plaintiff has filed a Motion to Strike Defendants’ Affirmative Defenses to Plaintiff’s

   Foreclosure Claim, which contends that none of these affirmative defenses are “legally valid.” Mot.

   to Strike at 3, ECF No. 71. Plaintiff argues that some of the affirmative defenses are no more than

   boilerplate recitals that do not provide adequate notice as to their grounds, whereas others cannot

   succeed because they are legally insufficient. Id. at 3. For the reasons that follow, I respectfully

   recommend that the motion be granted in its entirety.

                                              BACKGROUND

   I.      Facts

           When Verna Mae Golz was seventy-five years old, mounting expenses led her to seek a

   reverse mortgage. Am. Answer ¶ 73. On January 18, 2002, she entered into a federally insured

   Home Equity Conversion Mortgage (“HECM”) loan with a private lender named Financial Freedom

   Senior Funding Corp. (“Financial Freedom”). Am. Compl. ¶¶ 2, 29, ECF No. 31; see also ECF

   No. 31-1 (loan agreement); ECF No. 31-2 (promissory note with Financial Freedom); ECF No. 31-4

   (deed of trust listing Financial Freedom as beneficiary). After issuing the loan, Financial Freedom

   assigned its deed of trust to Mortgage Electronic Registration Systems, Inc. (“MERS”). Am. Compl.

   ¶ 37; see also ECF No. 31-6 (assignment to MERS). The assignment was duly recorded with the

   Boulder County Clerk. Am. Compl. ¶ 37.

           The loan, which is commonly referred to as a “reverse mortgage,” allowed Ms. Golz to

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   convert the equity in her home into cash by providing her with periodic advance payments. Id.

   ¶¶ 19–20. The mortgage holder’s only recourse for this type of loan is to foreclose on the property,

   as opposed to the borrower’s other assets. Id. ¶¶ 21–22. Here, the loan was secured by real

   property in Nederland, Colorado. Id. ¶ 1. The home on that property was constructed back in 1963.

   Am. Answer ¶ 72. To alleviate the risk of nonpayment, Financial Freedom obtained mortgage

   insurance from HUD. Am. Compl. ¶¶ 27, 36. Pursuant to that transaction, Ms. Golz executed a

   second promissory note with HUD and provided HUD with its own deed of trust. Id. ¶¶ 30–32; see

   also ECF No. 31-3 (promissory note with HUD); ECF No. 31-5 (deed of trust listing HUD as

   beneficiary). There was some initial confusion because the lender mistakenly encumbered a

   different lot known as “Lot 2"; that error was not corrected in full until 2011. Am. Answer ¶¶

   76–79.

            After executing the loan, Ms. Golz received loan advances for years. Am. Compl. ¶¶ 38–40.

   By the end of 2011, she had accrued a loan balance of over $241,080. Id. ¶ 40. At that time,

   Financial Freedom submitted an insurance claim based on the size of the loan balance and assigned

   its rights and interests under the mortgage to HUD in exchange for payment of $242,013.06 on the

   claim in December 2011. Id. ¶¶ 42–43. Likewise, MERS assigned its deed of trust to HUD. Id.

   ¶ 43; see also ECF No. 31-7 (assignment to HUD). Here, too, the assignment was duly recorded

   with the Boulder County Clerk. Am. Compl. ¶ 43. HUD currently holds both promissory notes and

   deeds of trust. Id. ¶ 44.

            Ms. Golz did not repay any of the loan balance after the assignment; meanwhile, interest and

   fees continued to accrue. Id. ¶ 45. The notes and deeds specify that the loan balance is in default,

   and thus becomes immediately due and payable, upon Ms. Golz’s death. Id. ¶ 47 (listing specific

   provisions). She passed away on May 16, 2014. Id. ¶ 48. The notes and deeds also state that the

   loan is in default, and immediately due and payable, if Ms. Golz ceases to principally reside on the

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   property. Id. ¶ 49 (listing specific provisions). Plaintiff alleges the latter event occurred when Ms.

   Golz became a domiciliary of Maricopa County, Arizona—the county where Dr. Golz later filed a

   probate action on September 11, 2014. Id. ¶ 50; see also ECF No. 31-8 (application for probate).

          The parties present differing accounts as to what happened regarding the debt after Ms.

   Golz’s death. Plaintiff alleges it advised the Estate that the loan was fully due and payable and tried

   to recover the balance owed without proceeding to foreclosure. Am. Compl. ¶¶ 53–54. According

   to Plaintiff, the loan servicer notified the Estate that HUD might consider accepting a deed in lieu

   of foreclosure or a short sale for ninety-five percent of the appraised value of the property under

   certain conditions, which were never satisfied. Id. ¶ 56. Plaintiff also alleges that Dr. Golz requested

   an appraisal on behalf of the Estate but did not cooperate in getting it scheduled, such that HUD was

   unable to procure an appraisal despite numerous attempts. Id. ¶¶ 58–62. Plaintiff further alleges

   that it sent notice to Dr. Golz on May 18, 2015, informing him that HUD was referring the loan for

   foreclosure. Id. ¶ 63. Plaintiff states that the amount owing, due, and payable under the note was

   $288,260.83 as of August 18, 2017, with interest and fees continuing to accrue until entry of

   judgment. Id. ¶ 65.

          By contrast, Defendants allege that Dr. Golz was the one pushing for a prompt appraisal.

   They were eager for an appraisal because the one performed on November 30, 2001 (shortly before

   the loan’s origination) is inaccurate because it does not account for two material construction defects

   that were obscured by snow at the time of inspection. Am. Answer ¶¶ 72–73, 77, 79. Those defects

   are (1) a hand-dug well, which ran dry after a historic drought in 2004, leaving the site with no

   potable water; and (2) a lodgepole foundation for the entryway that rests on the ground. Id. Had

   the appraiser noticed the defects, Defendants contend, the appraisal would have been “as repaired”

   or the loan would have been conditioned on repairing these defects (i.e., digging a deep well and

   rebuilding the lodgepole foundation) per a HUD handbook. Id. ¶¶ 74–75.

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          Defendants further allege that the loan servicer (Deval, Inc.) and HUD failed to respond to

   Dr. Golz’s repeated inquiries about the loan balance and his ongoing requests for an appraisal,

   thereby frustrating Defendants’ efforts to pay off the loan. Id. ¶¶ 80–121. They state that Dr. Golz

   promptly notified Deval of his mother’s death and asked for the payoff balance for the loan, but

   Deval did not respond to his repeated inquiries. Id. ¶¶ 80–84. Therefore, Dr. Golz next contacted

   HUD at its Denver Home Ownership Center. Id. ¶ 84. Again receiving no response, he contacted

   HUD at its National Servicing Center, precipitating a series of communications that were plagued

   with administrative errors such as missing enclosures in mailings. Id. ¶¶ 86–87. Dr. Golz

   unilaterally provided several deadlines for an appraisal, none of which were met. Id. ¶¶ 88–92.

   HUD ultimately contacted Dr. Golz about an appraisal, but Dr. Golz resisted the dates proffered and

   asked to defer the foreclosure, citing his desire to first obtain an engineering inspection and his

   concerns about the weather and the accumulating snow. Id. ¶¶ 94–103.

          Ultimately, Defendants hired an appraiser on their own to inspect the property on May 6,

   2015. Id. ¶ 104. Then, on June 3, 2015, they sought to exercise their “right” to purchase the

   property by paying ninety-five percent of the most recent appraisal value. Id. ¶ 109. The total

   amount tendered was $118,750. See ECF No. 71-6 at 4. HUD rejected their attempt to purchase

   the property on the ground that it only accepts appraisals that are ordered by and delivered directly

   to HUD or its loan servicer. Am. Answer ¶ 112. Defendants unsuccessfully disputed HUD’s

   position through counsel. See id. ¶¶ 120–21.

          On three occasions in May and June 2015, HUD’s new servicer, Novad Management

   Consulting LLC, entered the property and placed unspecified documents on the door of the home.

   Id. ¶ 122. Dr. Golz accused Novad and HUD of criminal trespass and demanded that their agents

   not come on the property again. Id. ¶¶ 122–26. But a federal contractor forcibly entered the home

   on December 2, 2016, and installed a “HUD lock” to exclude Defendants. Id. ¶¶ 128–29. BLM

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   Companies LLC acquired the property from HUD during this timeframe. See id. ¶¶ 129–30.

   Defendants allege that BLM staff and HUD administrators committed a number of crimes by

   forcibly entering the home and taking possession of the property. Id. ¶ 131.

   II.     Procedural History

           Plaintiff initiated this foreclosure action against Defendants on May 9, 2017, see ECF No.

   1, and then filed the operative Amended Complaint on August 18, 2017, see ECF No. 31. Two

   Defendants—Estate of Verna Mae Golz and William Golz—filed an Answer and Counterclaims to

   the Amended Complaint on September 25, 2017, see ECF No. 46, and later filed the operative

   Amended Answer on November 29, 2017, see ECF No. 64—dropping the counterclaims and raising

   seven affirmative defenses. Default has been entered against the remaining Defendants: Marcus J.

   Golz, Matthew J. Golz, and the Unknown Heirs and Claimants of the Estate. See ECF Nos. 30, 33.

   Despite the entry of default, these Defendants were listed in the caption of the Amended Complaint;

   however, they did not file an Answer, nor have they filed (or joined in) any briefs in this case.

           On December 13, 2017, Plaintiff filed this Motion to Strike Defendants’ Affirmative

   Defenses. ECF No. 71. Defendants filed their Response on February 2, 2018. ECF No. 81.

   Plaintiff then filed a Reply on February 16, 2018. ECF No. 84.

                                           LEGAL STANDARDS

           An “affirmative defense” is “[a] defendant’s assertion of facts and arguments that, if true,

   will defeat the plaintiff’s or prosecution’s claim, even if all the allegations in the complaint are true.”

   Black’s Law Dictionary (10th ed. 2014). Rule 8(c) of the Federal Rules of Civil Procedure instructs,

   “In responding to a pleading, a party must affirmatively state any avoidance or affirmative defense

   . . . .” Fed. R. Civ. P. 8(c). Additionally, Rule 8(b)(1)(A) requires that, in responding to a pleading,

   a party must “state in short and plain terms its defenses to each claim asserted against it.” Fed. R.

   Civ. P. 8(b)(1)(A). Although Rule 8(b)(1)(A) does not require that the pleading show entitlement

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   to relief, “the defenses must be stated so as to give notice to a claimant, ‘who can then use the

   discovery process to investigate more fully the factual basis supporting the defense.’” United States

   Welding, Inc. v. Tecsys, Inc., No. 14-cv-00778-REB-MEH, 2015 WL 3542702, at *2 (D. Colo. June

   4, 2015) (quoting Michaud v. Greenberg & Sada, P.C., No. 11-cv-01015-RPM-MEH, 2011 WL

   2885952, at *4 (D. Colo. July 18, 2011)).

          Rule 12(f) of the Federal Rules of Civil Procedure permits the Court—on its own or on

   motion by a party—to strike from a pleading an “insufficient” defense. Fed. R. Civ. P. 12(f). “An

   affirmative defense is insufficient if, as a matter of law, the defense cannot succeed under any

   circumstance.” Unger v. U.S. West, Inc., 889 F. Supp. 419, 422 (D. Colo.1995); see also S.E.C. v.

   Nacchio, 438 F. Supp. 2d 1266, 1287 (D. Colo. 2006) (“A motion to strike an affirmative defense

   is adjudicated under the same standard as a motion to dismiss: namely, the Court must strike the

   defense only if it cannot be maintained under any set of circumstances.”); Malibu Media, LLC v.

   Butler, No. 13-cv-02707-WYD-MEH, 2014 WL 4627454, at *1 (D. Colo. Sept. 16, 2014)

   (characterizing the appropriate inquiry for whether to strike a defense as whether the defense “could

   succeed as a matter of law”).

          Generally, courts “do not consider whether a defendant has presented evidence in support

   of a particular defense” when applying this standard; instead, courts “decide the motion on the basis

   of the pleadings alone.” Quick v. Grand Junction Lodging, LLC, No. 13–cv–02917–RBJ, 2014 WL

   7205417, at *2 (D. Colo. Dec. 18, 2014). But when both parties have submitted evidence outside

   the pleadings in connection with a Rule 12(f) motion to strike, as they have done here, the Court will

   consider “both legal insufficiency and factual insufficiency on the record before the Court.” Id. at

   *2–3. In so doing, the Court looks to the standard applied in considering a summary judgment

   motion. See Fed. R. Civ. P. 56(a) (“The court shall grant summary judgment if the movant shows

   that there is no genuine dispute as to any material fact and the movant is entitled to judgment as a

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   matter of law.”). The Court considers the factual record and all inferences derived therefrom in the

   light most favorable to the non-moving party. Utah Lighthouse Ministry v. Found. for Apologetic

   Info. & Research, 527 F.3d 1045, 1050 (10th Cir. 2008).

           “The purpose of Rule 12(f) is to save the time and money that would be spent litigating

   issues that will not affect the outcome of the case.” Kimpton Hotel & Rest. Grp., LLC v. Monaco

   Inn, Inc., No. 07–cv–01514–WDM-BNB, 2008 WL 140488, at *1 (D. Colo. Jan. 11, 2008) (quoting

   United States v. Smuggler–Durant Mining Corp., 822 F. Supp. 873, 875 (D. Colo.1993)). Striking

   a portion of a pleading is “a severe remedy,” so it is “generally disfavored.” Sender v. Mann, 423

   F. Supp. 2d 1155, 1163 (D. Colo. 2006); see also Quick, 2014 WL 7205417, at *2 (explaining that

   a Rule 12(f) motion “will not be granted unless it appears to a certainty that plaintiffs would succeed

   despite any state of the facts which could be proved in support of the defense” (quoting Dixie Yarns,

   Inc. v. Forman, No. 91 CIV. 6449 (CSH), 1993 WL 227661, at *4 (S.D.N.Y. June 21, 1993))). Even

   so, whether to strike an affirmative defense rests within the sound discretion of the trial court.

   Anderson v. Van Pelt, No. 09–cv–00704–CMA, 2010 WL 5071998, at *1 (D. Colo. Dec. 7, 2010)

   (citing Vanderhurst v. Colo. Mountain Coll. Dist., 16 F. Supp. 2d 1297, 1303 (D. Colo. 1998)).

                                                ANALYSIS

           Plaintiff asks the Court to strike all of Defendants’ affirmative defenses as being insufficient

   as a matter of law under Fed. R. Civ. P. 12(f). Plaintiff challenges the second and sixth affirmative

   defenses as boilerplate and contends they do not provide the requisite notice as to their grounds.

   Plaintiff challenges the first, third, fourth, fifth, and seventh affirmative defenses as legally invalid

   because they cannot succeed under any circumstances. Defendants do not address the affirmative

   defenses in an orderly fashion. The bulk of Defendants’ response reiterates their theory that Plaintiff

   failed to conduct a prompt appraisal and then misled Defendants to believe they would be able to

   purchase the subject property for a fraction of the payoff price, to be calculated based on current

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   appraisal value. Defendants touch briefly on the related estoppel/laches/waiver/unclean-hands

   defenses, but do not address the purported deficiencies of the second affirmative defense head-on.

   I consider each of the affirmative defenses in turn, combining my analysis where appropriate.

   I.     First and Sixth Affirmative Defenses: The Foreclosure Is Avoidable and Contrary to
          NHA and FHA Regulations, and Plaintiff’s Final Agency Action Is Arbitrary,
          Capricious, and Contrary to Law

          The first affirmative defense is that “foreclosure is avoidable and contrary to NHA and FHA

   regulations.” Am. Answer ¶¶ 132–35. To support this defense, Defendants allege that Plaintiff

   failed to comply with the time requirements for a prompt appraisal, as spelled out in the “HECM

   Servicing Frequently Asked Questions (FAQs).” See id. ¶¶ 134–35. Those FAQs provide guidance

   on 24 C.F.R. § 206.125(b) and (c),1 among other topics. More specifically, Defendants allege that

   Plaintiff violated one of HUD’s regulations, 24 C.F.R. § 206.125, as interpreted in a HUD handbook.

          The sixth affirmative defense appears to be based on the same purported violations, though

   it is lacking in details. Defendants state generally, “The FAD that Ms. Potts issued on September

   8, 2015 as program counsel for the Office of Insured Housing is a final agency action that is

   arbitrary, capricious and contrary to law.” Am. Answer ¶ 140. The factual basis for this affirmative

   defense must be pieced together from the rest of the responsive pleading. Millicent Potts is alleged

   to be the Associate General Counsel for the Office of Insured Housing. See id. ¶ 112. She

   purportedly corresponded with Defendants’ former attorney, Mark Cohen. See id. ¶¶ 87, 106–117.

   The “FAD” referenced is the final agency determination that HUD was going to foreclose on the

   property. See id. ¶ 117. The legal basis for this defense seems to stem from the scope of review for

   agency decisions, which is set forth in 5 U.S.C. § 706(2)(A).

          The Court might choose to strike the sixth defense based on its lack of specificity and failure


          1
            This regulation was amended effective September 19, 2017. The parties’ briefs rely on the
   pre-September 2017 version because of the timing of the underlying events, so I do the same.

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    to provide fair notice alone. See Qarbon.com Inc. v. Ehelp Corp., 315 F. Supp. 2d 1046, 1049

    (N.D. Cal. 2004) (stating that “[a] reference to a doctrine, like a reference to statutory provisions,

    is insufficient notice” of the grounds for a defense). But the first and sixth defenses seem to be

    inextricably linked, and the preceding allegations in the Amended Answer arguably provide the

    minimal short and plain terms. Therefore, I choose to consider these related defenses in tandem and

    to resolve whether both are sufficient as a legal matter, rather than recommending that the latter be

    stricken based on a pleading deficiency. Though this is a complicated area of law, replete with

    regulations and agency interpretations thereof, it seems clear to me after a painstaking review that

    neither the first nor the sixth affirmative defense can succeed under any circumstances for a host of

    reasons.

           First, as a threshold matter, Defendants seek to apply Section 206.125 out of context. This

    regulation is part of HUD’s HECM insurance-claim procedure, which mortgage lenders must follow

    to submit an insurance claim to HUD. See 24 C.F.R. §§ 206.123–129 (discussing claim procedures

    for the payment of mortgage insurance benefits); see, e.g., id. § 206.125(b) (“The mortgagee shall

    obtain an appraisal of the property no later than 30 days after the mortgagor is notified that the

    mortgage is due and payable, or no later than 30 days after the mortgagee becomes aware of the

    mortgagor’s death . . . ”). An entirely different section of the regulations addresses HUD’s

    responsibility to mortgagors. See 24 C.F.R. §§ 206.117–121.

           Second, looking beyond context and to the text, it is evident from the language of Section

    206.125 and the related regulations that they govern lenders, as distinguished from HUD, and thus

    do not apply to Defendants’ scenario. Granted, “mortgagee” is not defined within 24 C.F.R.

    §§ 206.123–129, and the parties spar over whether the lender or HUD is the “mortgagee” here. But

    the remaining language of Section 206.125, its context, and historical documents all clearly support

    Plaintiff’s position that the lender is the mortgagee. Of particular note, the terms “mortgagee” and

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    “HUD” are not used interchangeably in these sources. Both terms often appear in the same

    sentence, reflecting the fact that the mortgagee and HUD are effectively counterparties to a mortgage

    insurance contract. See, e.g., 53 Fed. Reg. 43,156-01, 43,159-60 (Oct. 25, 1988) (discussing the

    mortgagee’s initiation of a foreclosure action and differentiating between the mortgagee and HUD

    in stating that “[t]he mortgagee may delay foreclosure up to three months, or longer without HUD

    consent, without affecting its rights under the insurance contract”); see also Aetna Cas. & Sur. Co.

    v. United States, 655 F.2d 1047, 1057 (Ct. Cl. 1981) (noting in the context of non-HECM

    regulations that “the distinct terms ‘Commissioner’ and ‘mortgagee’ are used in contrast to each

    other” and thus are not “interchangeable”). In my opinion, Defendants’ response dodges the critical

    question: Is HUD the mortgagee for purposes of Section 206.125? I conclude that HUD and

    the“mortgagee” are not one and the same within that regulation.

           Third, Defendants rely extensively on an outdated, non-binding HUD handbook. Without

    responding to Plaintiff’s textual argument, Defendants cite to handbook excerpts that refer to HUD

    as a mortgagee in the course of discussing HUD’s post-assignment responsibilities. See Resp. at

    8–10. Plaintiff counters that the handbook cited is outdated and establishes that it does not even

    address the applicable version of the regulation. Reply at 5–6. Plaintiff also correctly points out that

    HUD’s handbooks are not binding. See id. at 8–9. The Supreme Court has characterized handbooks

    and booklets issued by HUD as containing mere “instructions,” “technical suggestions,” and “items

    for consideration.” Thorpe v. Housing Auth. of City of Durham, 393 U.S. 268, 275 (1969). And the

    Tenth Circuit has reaffirmed, “[T]he HUD Handbook . . . is not law.” United States v. Hauck, 980

    F.2d 611, 614 (10th Cir. 1992). Rather, it is “intended for internal use for the information and

    guidance of HUD officials” and “has no binding force.” Id. (quoting Burroughs v. Hills, 741 F.2d

    1525, 1529 (7th Cir. 1984)); accord Williams v. Hanover Hous. Auth., 871 F. Supp. 527, 531–34 (D.

    Mass. 1994) (collecting cases that show how “[c]ourts have consistently held that government

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    agenc[ie]s’ handbooks are not legally binding, but merely advisory”).

           Fourth, it seems beyond dispute that the regulation relied upon by Defendants does not

    confer any benefits upon them, as the heir and estate of the borrower. Decades ago, the Supreme

    Court emphasized that the appraisal system was designed primarily to protect the government and

    its insurance funds, that the mortgage insurance program was not designed to insure anything but

    the repayment of loans made by lender-mortgagees, and that the FHA and the individual mortgagor

    do not have a legal relationship. United States v. Neustadt, 366 U.S. 696, 709 (1961) (citing

    legislative history); see also Bennett v. Donovan, 703 F.3d 582, 589 (D.C. Cir. 2013) (explaining

    that § 206.125 was “intended to protect the lenders”); Fed. Nat’l Mortg. Ass’n v. Takas, No. 2:17-

    CV-204-DAK, 2017 WL 3016785, at *5 (D. Utah July 14, 2017) (citing cases for the proposition

    that no private right of action exists under the NHA). More recently, the Fifth Circuit aptly

    explained in Johnson v. World Alliance Financial Corporation, 830 F.3d 192, 196 (5th Cir. 2016),

    that “HUD regulations govern the relationship between the reverse-mortgage lender and HUD as

    insurer of the loan.” They do not, however, “give the borrower a private cause of action unless the

    regulations are expressly incorporated into the lender-borrower agreement.” Id. (emphasis added).

    The record shows that is not the case here. See ECF Nos. 31-1, 31-2, 31-4. Similarly, the Tenth

    Circuit has rejected the argument that the regulations “impose an obligation on HUD to any party

    in a mortgage transaction other than the mortgagee.” Anderson v. U.S. Dep’t of Hous. & Urban

    Dev., 701 F.2d 112, 114 (10th Cir.1983). If the HUD regulations do not confer a cause of action on

    a borrower under such circumstances, I do not see how they could confer an affirmative defense to

    a borrower’s heir or estate as a means of averting foreclosure when a reverse mortgage becomes due

    and payable.

           Fifth, and finally, these two affirmative defenses cannot succeed because their viability

    depends on Defendants’ ability to pay off the outstanding loan balance by tendering only ninety-five

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    percent of the appraised value of the property, based on an appraisal they procured themselves.

    HUD has provided a policy clarification on a “borrower’s recourse for repayment of HECM loan

    debt and termination of a HECM mortgage,” which seems to state that this type of partial payment

    is not even permissible. See Mot. to Strike, Exh. 71-5 at 2 (HUD Mortgagee Letter 2008-38, dated

    Dec. 5, 2008). The clarification addresses a statement from the HUD handbook on HECMs, which

    provides: “The HECM is a ‘non-recourse loan.’ This means that the HECM borrower (or his or her

    estate) will never owe more than the loan balance or value of the property, whichever is less . . . .”

    Id. (quoting ¶ 1-3C of the handbook). HUD goes on to interpret that statement in a way that rejects

    Defendants’ position that the Estate could have paid off the loan balance for less than the full

    amount due:

            Some program participants mistakenly infer from this language that a borrower (or
            the borrower’s estate) could pay off the loan balance of a HECM for the lesser of the
            mortgage balance or the appraised value of the property while retaining ownership
            of the home. This is not correct and is not the intended meaning of the quoted
            provision. Non-recourse means simply that if the borrower (or estate) does not pay
            the balance when due, the mortgagee’s remedy is limited to foreclosure and the
            borrower will not be personally liable for any deficiency resulting from the
            foreclosure.

    Id. HUD goes on to address a variety of scenarios, including the one the Court confronts here: “If

    the mortgage is due and payable and the borrower (or estate) desires to retain ownership of the

    property, the mortgage debt must be repaid in full. Lenders may assist the borrower (or estate) in

    obtaining other financing to pay off the HECM loan in full.” Id. at 3. Courts defer to an agency’s

    interpretation of its own regulation as “controlling” unless it is plainly erroneous or inconsistent with

    the regulation. Auer v. Robbins, 519 U.S. 452, 461 (1997). It does not strike me as either.

    Accordingly, even assuming that (1) HUD was required to procure a timely appraisal and failed to

    do so and (2) an agent told Defendants they could pay off the loan for less than the full amount,

    HUD’s actions would not warrant voiding the foreclosure.


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            For all of these compelling reasons, I find that Defendants’s first and sixth affirmative

    defenses are insufficient and cannot be maintained under any set of circumstances that exist in this

    case. Because the defenses, as stated, “cannot succeed” in defeating Plaintiff’s foreclosure claim,

    I recommend that the Court strike them. To the extent Plaintiff is simply articulating the relevant

    legal standard within the sixth defense, I note that striking the defense would not preclude Plaintiff

    from asserting a more detailed argument as to how that standard should be applied when the merits

    of Plaintiff’s claim are under consideration.

    II.     Second Affirmative Defense: Failure to State a Claim

            Defendants’ Second Affirmative Defense is that “Plaintiff’s Amended Complaint fails to

    state a claim upon which relief can be granted.” Am. Answer ¶ 136. Plaintiff moves to strike this

    defense as well, characterizing it as a “one-sentence recital” that is part of an unacceptable “laundry

    list.” Mot. to Strike at 12.

            I agree that this bare-bones, boilerplate defense does not give adequate notice to Plaintiff.

    As explained above, Rule 8(b)(1)(A) requires a party responding to a pleading to “state in short and

    plain terms its defenses to each claim asserted against it.” Fed. R. Civ. P. 8(b)(1)(A). In addition,

    an affirmative defense “must be stated so as to give notice to a claimant, ‘who can then use the

    discovery process to investigate more fully the factual basis supporting the defense.’” United States

    Welding, Inc. v. Tecsys, Inc., No. 14-cv-00778-REB-MEH, 2015 WL 3542702, at *2 (D. Colo. June

    4, 2015) (quoting Michaud v. Greenberg & Sada, P.C., No. 11-cv-01015-RPM-MEH, 2011 WL

    2885952, at *4 (D. Colo. July 18, 2011)). The second affirmative defense does not come close to

    meeting these requirements.

            I recognize that Defendants are currently proceeding pro se. But it would be improper for

    the Court to construct arguments on their behalf simply because of that status, see Whitney v. New

    Mexico, 113 F.3d 1170, 1173–74 (10th Cir. 1997), and Defendants do not provide any additional

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    details regarding the substance of this defense in their response. Although Defendants parse

    through some of the other affirmative defenses individually, they do not attempt to substantiate this

    one. It may be that they inserted this defense as a placeholder, seeking to satisfy the mandate in

    Federal Rule of Civil Procedure 12(b)(6) that “[e]very defense to a claim for relief in any pleading

    must be asserted in the responsive pleading if one is required” or asserted by motion. See Echostar

    Satellite, L.L.C. v. Persian Broadcasting Co., Inc., No. 05-cv-00466-PSF-MEH, 2006 WL 446087,

    at *2 (D. Colo. Feb. 22, 2006); Fed. R. Civ. P. 12(b)(6). Nonetheless, “issues will be deemed

    waived if they are not adequately briefed.” Garrett v. Selby Connor Maddux & Janer, 425 F.3d 836,

    841 (10th Cir. 2005). Furthermore, my review of the Amended Complaint and the Motion to Strike

    convinces me that Plaintiff has adequately stated a claim for foreclosure. Plaintiff has alleged a

    continuing default and “the fact of [a borrower’s] continuing default is, by itself, justification and

    support for HUD’s decision to foreclose.” United States v. Victory Highway Vill., Inc., 662 F.2d

    488, 496 (8th Cir. 1981).



           Accordingly, I recommend striking the second affirmative defense as well. I note that

    striking this defense would not preclude Defendants from raising it later in this litigation as

    permitted by Federal Rule of Civil Procedure 12(h)(2) or otherwise. “The defense of failure to state

    a claim can be raised at any time, including at trial.” Chavez v. Thornton, No. 05-cv-00607-REB-

    MEH, 2007 WL 2908293, at *1 (D. Colo. Oct. 3, 2007).

    III.   Third Affirmative Defense: Estoppel

           The third affirmative defense is estoppel.2 Am. Answer ¶ 137. Defendants allege that they



           2
            Although estoppel substantially overlaps with the waiver, laches, and unclean-hands
    defenses, I deem these defenses to be distinct enough to warrant a separate analysis and address each
    one independently.

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    continued to pay for property taxes, homeowners’ insurance, utilities, and maintenance for over

    three and one-half years in reliance upon Plaintiff’s representation that they could pay off the loan

    for ninety-five percent of the appraised value as of 2014. Id.; see also Resp. at 3. But even if

    Plaintiff’s agent did make such a representation, an estoppel defense cannot succeed.

           The Tenth Circuit has stated that “[i]t is far from clear that the Supreme Court would ever

    allow an estoppel defense against the government under any set of circumstances.” FDIC v. Hulsey,

    22 F.3d 1472, 1490 (10th Cir. 1994). Assuming it is even available, the defense requires a showing

    of “affirmative misconduct”—which “is a high hurdle for the asserting party to overcome.” Id.

    “Affirmative misconduct means an affirmative act of misrepresentation or concealment of a material

    fact. Mere negligence, delay, or failure to follow agency guidelines does not constitute affirmative

    misconduct.” Bd. of Cty. Comm’rs v. Isaac, 18 F.3d 1492, 1499 (10th Cir. 1994). Here, Defendants

    focus extensively on appraisal delays caused by Plaintiff and describe Plaintiff’s conduct in terms

    of negligence and neglect. See, e.g., Am. Answer at 9 n.8 (discussing “HUD’s negligent refusal to

    timely appraise the Property”); Resp. at 7 (stating that “the agency neglected its responsibility to

    Defendants and to the public purse” by refusing to let them pay off the loan at the reduced rate); id.

    at 19 (characterizing HUD’s treatment of Defendants as “a multi-year neglect of its

    responsibilities”). It is clear from Hulsey, however, that neither a lengthy delay in processing nor

    erroneous advice of a government agent constitutes affirmative misconduct. See 22 F.3d at 1490.

           Because estoppel is rarely applied against the government, and because Defendants have not

    convinced me that they could satisfy the “high hurdle” of showing affirmative misconduct by

    Plaintiff even if such a defense was available, I recommend that the estoppel defense be stricken.

    IV.    Fourth Affirmative Defense: Laches

           The fourth affirmative defense is laches. Laches may be asserted to deny relief to a party

    whose unexcused or unreasonable delay in enforcing his or her rights has prejudiced the party

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    against whom he or she seeks relief. Robbins v. People, 107 P.3d 384, 388 (Colo. 2005); see also

    Jacobsen v. Deseret Book Co., 287 F.3d 936, 949 (10th Cir. 2002) (“[T]he defendant must

    demonstrate that there has been an unreasonable delay in asserting the claim and that the defendant

    was materially prejudiced by that delay.”) (quoting Hutchinson v. Pfeil, 105 F.3d 562, 564 (10th Cir.

    1997)). Here, Defendants assert that Plaintiff’s delay in filing this action was unreasonable and

    caused them prejudice. See Am. Answer ¶ 138.

           I see no unreasonable delay, given that the pleadings establish that bad weather played a

    significant role in the time required to secure an appraisal. Nor do I see prejudice to Defendants, as

    any delay in filing the suit actually afforded them continued access to (and enjoyment of) the

    property. Besides, this defense, too, is legally insufficient. The government is not subject to laches

    when it brings a lawsuit, such as this one, to enforce its rights. This notion has been well established

    for almost two centuries. See Chesapeake & Del. Canal Co. v. United States, 250 U.S. 123, 125

    (1919) (“That the doctrine of laches is not applicable to the government was announced . . . in

    1821.”). It has been applied to a claim assigned to the Federal Housing Administrator acting on

    behalf of the United States. See United States v. Summerlin, 310 U.S. 414, 416 (1940) (“It is well

    settled that the United States is not bound by state statutes of limitations or subject to the defense

    of laches in enforcing its rights.”). It has also been applied in a lawsuit by the government to

    recover defaulted student loans. See United States v. Distefano, 279 F.3d 1241, 1245 n.2 (10th Cir.

    2002) (“[L]aches may not be asserted against the United States in an action brought to enforce a

    public right or a public interest.”). I see no reason why these rulings should not be extended to this

    foreclosure case, so I recommend that the laches defense be stricken.

    V.      Fifth Affirmative Defense: Waiver

           For their fifth affirmative defense, Defendants state: “From paragraphs 137 and 138 and the

    allegations above, the Secretary’s unreasonable delay and prior statements upon which Defendants

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    relied constituted a voluntary and intentional waiver of the Secretary’s right to bring this action.”

    Am. Answer ¶ 139.

           The waiver defense fares no better than its counterparts, as it runs afoul of yet another well-

    established principle:    The law does not permit government employees to waive statutory

    requirements by their actions. Wilber Nat’l Bank of Oneonta v. United States, 294 U.S. 120, 123

    (1935). “[T]he general rule is that the United States are neither bound nor estopped by the acts of

    their officers and agents in entering into an agreement or arrangement to do or cause to be done what

    the law does not sanction or permit.” Id.; accord Sanders v. Comm’r of Internal Revenue, 225 F.2d

    629, 634 (10th Cir. 1955) (“It is equally well established that the United States may not be estopped

    by the unauthorized acts of its agents nor may such agents waive the rights of the United States by

    their unauthorized acts.”). “[T]hose dealing with an agent of the United States must be held to have

    had notice of the limitation of his authority.” Wilber Nat’l Bank, 294 U.S. at 123–24.

           Moreover, I am not persuaded that under the circumstances presented here Defendants were

    deceived or misled to their detriment or that they had adequate reason to suppose Ms. Golz’s loan

    agreement would not be enforced or that the foreclosure provided for by that agreement could be

    waived. See id. at 124. To the contrary, it appears from the record that although Plaintiff was

    actively seeking to avoid foreclosure if at all possible for Defendants’ benefit, it never relinquished

    its right to foreclose. For these reasons, I recommend that the waiver defense also be stricken.

    VI.    Seventh Affirmative Defense: Unclean Hands

           Defendants’ seventh and final affirmative defense is an unclean-hands defense. Defendants

    allege that “Plaintiff committed numerous acts of bad faith,” which include a series of mailing and

    clerical errors and forcible entry into Ms. Golz’s former home. See Am. Answer ¶ 141. Defendants

    cannot succeed on this defense either.

           Simply put, unclean hands is not a valid defense to HUD foreclosure. The Supreme Court

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    has “rejected the unclean hands defense where a private suit serves important public purposes.”

    McKennon v. Nashville Banner Publ’g Co., 513 U.S. 352, 360 (1995). And courts across the

    country have found protecting the public treasury through foreclosure by HUD to be an important

    public purpose. See, e.g., United States v. Winthrop Towers, 542 F. Supp. 1042, 1044 (N.D. Ill.

    1982) (“In deciding whether to foreclose on a seriously defaulting mortgagor, it is appropriate that

    HUD consider as a predominant factor the federal policy to protect and preserve public monies

    which make up the assets of HUD’s insurance fund.”); accord United States v. Winthrop Towers,

    628 F.2d 1028, 1038 (7th Cir. 1980) (recognizing “HUD’s unarguable duty to protect the public

    treasury”). Against this backdrop, the Honorable William J. Martinez applied McKennon and struck

    an unclean-hands defense in the context of the FHA in McFadden v. Meeker Housing Authority, No.

    16-cv-2304-WJM-GPG, 2018 WL 3368411, at *3 (D. Colo. July 10, 2018) (citing cases).

            Because it is so clear to me that an unclean-hands defense is not available under the present

    circumstances, I do not conduct a detailed analysis of the parties’ supplemental arguments. I do find

    it compelling, though, that the deeds of trust explicitly provide HUD with the right to enter and

    manage the Property. See Mot. to Strike at 19–20 & Exhs. 71-1 & 71-2. Consequently, I

    recommend striking Defendants’ seventh affirmative defense as well.

                                              CONCLUSION

            I respectfully recommend that the Court grant Plaintiff’s Motion to Strike Defendants’

    Affirmative Defenses to Plaintiff’s Foreclosure Claim [filed December 13, 2017; ECF No. 71] in

    its entirety.3


            3
            Be advised that all parties shall have fourteen (14) days after service hereof to serve and file
    any written objections in order to obtain reconsideration by the District Judge to whom this case is
    assigned. Fed. R. Civ. P. 72. The party filing objections must specifically identify those findings
    or recommendations to which the objections are being made. The District Court need not consider
    frivolous, conclusive or general objections. A party’s failure to file such written objections to
    proposed findings and recommendations contained in this report may bar the party from a de novo

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           Dated at Denver, Colorado, this 28th day of August, 2018.

                                                         BY THE COURT:




                                                         Michael E. Hegarty
                                                         United States Magistrate Judge




    determination by the District Judge of the proposed findings and recommendations. United States
    v. Raddatz, 447 U.S. 667, 676–83 (1980); 28 U.S.C. § 636(b)(1). Additionally, the failure to file
    written objections to the proposed findings and recommendations within fourteen (14) days after
    being served with a copy may bar the aggrieved party from appealing the factual and legal findings
    of the Magistrate Judge that are accepted or adopted by the District Court. Duffield v. Jackson, 545
    F.3d 1234, 1237 (10th Cir. 2008) (quoting Moore v. United States, 950 F.2d 656, 659 (10th Cir.
    1991)).

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